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 1                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO
 2
     UNITED STATES OF AMERICA,
 3
           Plaintiff,
 4
           v.                                             CRIMINAL NO. 91-299 (RLA)
 5
     JOSE S. FORTY ESTREMERA,
 6
           Defendant.
 7

 8
                ORDER GRANTING DEFENDANT’S MOTION FOR RESENTENCING
 9
           The Court has before it defendant JOSE FORTY ESTREMERA’s Motion
10
     to Reduce Sentence (docket No. 1653), which the Government has
11
     opposed (docket No. 1654).1              After careful consideration of the
12
     arguments asserted in the pleadings, the Court GRANTS defendant’s
13
     motion to resentence for the reasons set forth below.
14
                                            BACKGROUND
15
           The details of this case can be gleaned from United States v.
16
     Levy Cordero, 67 F.3d 1002 (1st Cir. 1995); cert. denied, sub nom.
17
     Forty Estremera v. United States, 517 U.S. 1162 (1996).
18
           JOSE FORTY ESTREMERA was convicted and sentenced on September
19
     10,   1993   of   one    count   of    conspiracy;    two   counts      of      importing
20
     marijuana;     two    counts     of    possessing    marijuana      with     intent    to
21
     distribute; ten counts of importing cocaine; ten counts of possessing
22
     cocaine with intent to distribute; and one count of attempting to
23
     import     cocaine,     and   aiding    and   abetting,     all    in   violation     of
24
     21 U.S.C. §§ 846, 841(a)(1), 963, 952 and 18 U.S.C. § 2.
25

26         1
                See also Defendant’s Reply (docket No. 1655).
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 2
           Pursuant   to     the    then   applicable    United     States   Sentencing
 3
     Guidelines (USSG), the Presentence Report (PSR) reached a base
 4
     offense level of 42 due to a drug quantity greater than 1,500
 5
     kilograms of cocaine and imposed adjustments for his supervisory role
 6
     in   the   conspiracy    and    obstruction    of   justice    pursuant      to   USSG
 7
     § 3B1.1(b) and 3C1.1, respectively.           An adjusted offense level of 47
 8
     combined with defendant’s criminal history Category of I yielded a
 9
     guideline range which mandated a sentence of life imprisonment.
10
           The Court adopted the recommendations of the PSR and sentenced
11
     FORTY ESTREMERA, then 32 years of age, to life in prison.                           At
12
     sentencing, the Court noted its misgivings about the sentence it was
13
     about to impose:
14
                The Court finds this case in particular distressing
15         for him personally.       The Court has sentenced many
           individuals over a period of years, but finds it
16         particularly distressing because of the fact that it
           involved so many individuals, many of whom, if not most,
17         came from good family backgrounds. They were not criminals
           in the ordinary sense of that word.     And that's why I
18         respond, psychologically, to Mr. Inserni's comments that
           his client is not a murderer,2 because before the
19         guidelines when sentencings were imposed these sort of
           things were taken into account, the fact that an
20         individual, you know, was not the type of person who was
           killing people, for which a life sentence is the normal
21         response. However, the people by way of the Congress has
           deemed it, in its wisdom, to view the narcotic trade as
22

23         2
            “He is not a murderer. And murderers get life sentences, Your
     Honor, you know. Rapists. And I'm not saying that–-Your Honor, drug
24   smugglers should also be punished.      Okay.   I'm not saying they
     shouldn't, but I'm just saying Mr. Jose Samuel Forty Estremera, as an
25   individual, is not the type of person that shoudld [sic] come out of
     prison in a casket.” (Sentencing hearing transcript, September 10,
26   1993, p.18)
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 2
          something completely heinous and as affecting the very
          fabric of society and indeed killing people. We've heard
 3
          and read many times about overdoses.      So, there is a
          killing in that sense, although indirect.
 4
               I'm sure Mr. Forty would be the last person in the
 5
          world to go up to a person and inject him with an overdose
          of cocaine and kill him. I don't believe he would ever
 6
          think of doing that.
 7
                                        . . .
 8
               In any event I don't want to make a big speech about
          this thing. I just want to tell you that I, as a judge,
 9
          under the sentencing guidelines have very little power with
          respect to sentencing. I have to make findings. I've made
10
          my findings under the law. I made them as fair as I could.
          We've had motions.      We've had hearings.      We've had
11
          testimony. And under the law and good conscious [sic] I've
          had to make the rulings that I've had to make. And based
12
          on that, I had to apply or have to apply the guidelines as
          written.
13
     (Sentencing hearing transcript, September 10, 1993, pp. 26-27).
14
          One year after FORTY’s sentence, the United States Sentencing
15
     Commission lowered the maximum drug-quantity-determined base offense
16
     level from 42 to 38.        USSG App.C. Vol. I, Amendment 505 (Nov.
17
     2006)(amendment effective Nov. 1, 1994).3           In 1995, the Commission
18
     made Amendment 505 retroactive by including it in the list of
19
     amendments that authorize a reduction in the term of imprisonment as
20
     a result of an amended guideline range.           See USSG § 1B1.10(c) and
21
     18 U.S.C. § 3582(c)(2).
22
          USSG § 1B1.10(a), in pertinent part, provides as follows:
23
               (2) Where a defendant is serving a term of
24
          imprisonment, and the guideline range applicable to that
25
          3
             Amendment 536 made Amendment 505 effective Nov. 1, 1995. We
26
     shall refer henceforth only to Amendment 505.
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 2
          defendant has subsequently been lowered as a result of an
 3        amendment to the Guidelines Manual listed in subsection
          (c) below, a reduction in the defendant’s term of
 4        imprisonment is authorized under 18 U.S.C. § 3582(c)(2).
 5        In turn, 18 U.S.C. § 3582(c)(2) provides as follows:
 6        (c) Modification of an imposed term of imprisonment –- The
          court may not modify a term of imprisonment once it has
 7        been imposed except that–
                    (1) in any case–
 8                       (A)---
                         (B)---
 9                  (2) in a case of a defendant who has been
          sentenced to a term of imprisonment based on a sentencing
10        range that has been subsequently been lowered by the
          Sentencing Commission pursuant to 28 U.S.C. s 994(o), upon
11        motion of the defendant or the Director of the Bureau of
          Prisons, or on its own motion, the court may reduce the
12        term of imprisonment, after considering the factors set
          forth in section 3553(a) to the extent that they are
13        applicable, if such a reduction is consistent with
          applicable policy statements issued by the Sentencing
14        Commission.
15        FORTY has asked us to schedule a new sentencing hearing, order
16   a new Presentence Report and resentence him as allowed by Section
17   3582(c)(2).        See docket No. 1653. Defendant also                  entreats us to
18   apply     United    States     v.   Booker,    543   U.S.       220    (2005)     in    his
19   resentencing.       See defendant's reply, docket No. 1653 at p.2 (“The
20   question    presented     here      is:   whether    the    U.S.       vs.[sic]    Booker
21   requirement      that   the     district    court    treat       the    United     States
22   Sentencing Guidelines as advisory applies to the resentencing of
23   petitioner pursuant to 18 U.S.C. § 3582(c)”).
24        In    its     Response,    the   United   States      acknowledged          that   the
25   application of Amendment 505 is in order. See Government's response,
26   docket No. 1654 at p.4.         (“It is true that application of amendments
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 2
     505 and 536 would reduce Forty's base level under USSG § 2D1.1 by
 3
     four levels, from 42 to 38.”).      Nonetheless, it argued that FORTY’s
 4
     offense level at resentencing would not change because application of
 5
     the adjustments for supervisory role and obstruction of justice
 6
     totaling five levels in accordance with sections 3B1.1 and 3C1.1,
 7
     would, in any event, yield     an adjusted guideline range of 43, which
 8
     range would still call for life imprisonment according to the U.S.
 9
     Sentencing Guidelines’ Sentencing Table. This position misinterprets
10
     defendant's argument, who in essence is asserting that when this
11
     court reconsiders his sentence pursuant to § 3582(c)(2) --                in a
12
     proceeding that occurs solely because the Sentencing Commission
13
     lowered the applicable sentencing range -- the court should have
14
     discretion to impose a non-guidelines sentence.            See, e.g., United
15
     States v. Hicks, 472 F.3d 1167, 1171 (9th Cir. 2007).
16
                                     DISCUSSION
17
          1. Applying Booker is in accord with the requirement that courts
18        apply the current version of the Sentencing Guidelines in effect
          on the date of resentencing.
19
          It is well settled that absent an ex post facto problem, the
20
     district court must apply the version of the Sentencing Guidelines in
21
     effect on the date of resentencing.       United States v. Mateo-Espejo,
22
     426 F.3d 508, 510, Note 1 (1st Cir. 2005) (citing United States v.
23
     Harotunian, 920 F.2d 1040, 1041-42 (1st Cir. 1990).          This    echoes the
24
     policy statement in the Guidelines Manual, that “[t]he court shall
25
     use the Guidelines Manual in effect on the date that the defendant is
26
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 2
     sentenced[,] unless doing so would violate the ex post facto clause.
 3
     USSG § 1B1.11(a) & (b)(2).
 4
            Here, Booker’s advisory regime will be the “version of the
 5
     Sentencing    Guidelines    in    effect”    on   the     date       of    Mr.   Forty’s
 6
     resentencing.     These Guidelines will necessarily include judicial
 7
     interpretations    by     the    Supreme    Court,   of       the    “constitutional
 8
     requirement that creates fundamental change” to the legal framework
 9
     in question; a requirement of such magnitude that it rendered the
10
     Guidelines advisory only. Booker, 543 U.S. at 248.                        Therefore, an
11
     imposition of a Guidelines sentence here without applying their newly
12
     advisory role would be violative of the established principle that
13
     the Guidelines as they exist at the time of resentencing is the
14
     version to be applied.
15
            2. Booker applies to § 3582(c)(2) resentencing.
16
            The Supreme Court in Booker explicitly stated that “as by now
17
     should be clear [a] mandatory system is no longer an open choice”
18
     Booker, 543 U.S. at 263.            Moreover, Booker emphasized that the
19
     Sentencing Guidelines could not be construed as mandatory in one
20
     context and advisory in another: ”[W]e believe that Congress would
21
     not have authorized a mandatory system in some cases and a non-
22
     mandatory system in others, given the complexities that such a system
23
     would create.    Id., at 266.      Indeed, district courts are now endowed
24
     with   the   discretion    to   obviate    Application        Note    2.    of   Section
25
     1B1.10(b) of the Guidelines which states that:
26
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 2
          [i]n determining the amended guideline range under
 3        subsection (b), the court shall substitute only the
          amendments listed in subsection (c) for the corresponding
 4        guideline provisions that were applied when the defendant
          was sentenced. All other guideline application decisions
 5        remain unaffected.
 6   (emphasis added).
 7        Therefore, since Booker excised the statutes that made the
 8   Guidelines mandatory and mandatory guidelines no longer exist, this
 9   Court is free to resentence FORTY accordingly. See, e.g., United
10   States v. Hicks, 472 F.3d 1167, 1171-72 (9th Cir. 2007) (“Booker...
11   provides a constitutional standard which courts may not ignore....
12   [T]o the extent that the policy statements are inconsistent with
13   Booker, the policy statements must give way”).             Cf. Cirilo Muñoz v.
14   United States, 404 F.3d 527, 533, n.7 (1st Cir. 2005)(noting that
15   several courts of appeals have said that the advisory guidelines
16   regime is to be used after Booker in resentencing even when the
17   remands for resentencing are not caused by Booker error).
18         This Court is mindful that Booker does not mean that judges are
19   now free to impose any sentence they want and that while Booker has
20   increased a sentencing court's discretion, that discretion is not
21   without limits.     Therefore, at defendant’s resentencing hearing, we
22   will begin by calculating the applicable guideline range.                 Once that
23   is   established,    we   will   evaluate   the    factors      set       forth   in
24   18 § 3553(a) to determine whether or not a guideline or non-guideline
25   sentence is warranted.     See, United States v. Gilman, 478 F.3d 440,
26   444 (1st Cir. 2007) (citing United States v. Jimenez-Beltre, 440 F.3d
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 2
     514, 518-19 (1st Cir. 2006)(en banc)) and United States v. Thurston,
 3
     456 F.3d 211, 215 (1st Cir. 2006).
 4
          Having determined that MR. FORTY is eligible for resentencing
 5
     pursuant to 18 U.S.C. § 3582(c)(2)4 and further eligible to the
 6
     application of the Booker advisory regime to his sentence, it is
 7
     hereby ORDERED that the U.S. Marshal shall transfer the person of
 8
     JOSE S. FORTY ESTREMERA to this jurisdiction no later than August 17,
 9
     2007, for resentencing by this Court.
10
          It is FURTHER ORDERED that the U.S. Probation Office shall
11
     prepare an updated Presentence Report no later than August 27, 2007,
12
     which shall set forth the status, conduct, and past history of
13
     defendant JOSE FORTY ESTREMERA from the time he came under the
14
     supervision of the Bureau of Prisons.
15
          A SENTENCING HEARING is hereby scheduled for September 17, 2007,
16
     at 10:00 a.m.
17
          IT IS SO ORDERED.
18
          San Juan, Puerto Rico, this 1st day of August, 2007.
19

20                                                 S/Raymond L. Acosta
                                                    RAYMOND L. ACOSTA
21                                             United States District Judge
22

23

24
          4
            Defendant previously filed a motion to recall the mandate of
25
     the Court of Appeals (see docket No. 1649 and government’s
     opposition, docket No. 1652). In light of our decision today, we do
26
     not reach the merits of this motion.
